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                              UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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 11   A.C., ET AL.,                          Case No: 2:18-cv-3694-SK
 12
                Plaintiffs,                  ORDER ON STIPULATION RE:
 13                                          PLAINTIFF A.C.’S DISMISSAL
      v.
 14
                                             OF ACTION

 15
      COUNTY OF SANTA BARBARA,
 16   ET AL.,
 17            Defendants.
 18

 19   IT IS HEREBY ORDERED, ADJUDGED AND DECREED as follows:
 20         Pursuant to stipulation of the parties by and through their respective
 21   counsel, Plaintiff A.C.’s claims and causes of action in the above-captioned
 22   action are voluntarily dismissed with prejudice against all Defendants pursuant
 23   to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). Each party to bear its own
 24   costs and fees.
 25   IT IS SO ORDERED.
 26
      Dated: September 25, 2020
 27
                                      HON. STEVE KIM
 28                                   United States Magistrate Judge

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